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                            UNITED STATES DISTRICT COURT

                      NORTHERN DISTRICT OF CALIFORNIA


IN RE: ROUNDUP PRODUCTS                    MDL No. 2741
LIABILITY LITIGATION
                                           Case No. 16-md-02741-VC


This document relates to:                  PRETRIAL ORDER NO. 315: ORDER
                                           GRANTING IN PART AND
Abelv v. Monsanto,                         DENYING IN PART MONSANTO'S
Case No. 3:21-cv-07124-VC                  MOTION TO EXCLUDE EXPERT
                                           SOL BOBST
Booth v. Monsanto,                         Re: Dkt. No. 18994
Case No. 3:20-cv-04654-VC

Coressel v. Monsanto,
Case No. 3:20-cv-03720-VC

Cryan v. Monsanto,
Case No. 3:17-cv-05084-VC

Dominique v. Monsanto,
Case No. 3:21-cv-02705-VC

Doran v. Monsanto,
Case No. 3:20-cv-02650-VC

Holliday v. Monsanto,
Case No. 3:19-cv-03014-VC

Perillo v. Monsanto,
Case No. 3:21-cv-02550-VC

Perry v. Monsanto,
Case No. 3:21-cv-05621-VC

Putzrath v. Monsanto,
Case No. 3:19-cv-03786-VC
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   Rhuland v. Monsanto,
   Case No. 3:19-cv-05598-VC

   Rodgers v. Monsanto,
   Case No. 3:21-cv-03297-VC

   Rowland v. Monsanto,
   Case No. 3:19-cv-05310-VC

   Setzer v. Monsanto,
   Case No. 3:17-cv-03448-VC

   Stackhouse v. Monsanto,
   Case No. 3:21-cv-02908-VC

   Williams v. Monsanto,
   Case No. 3:20-cv-04758-VC


       Monsanto’s motion to exclude the testimony of Dr. Sol Bobst is granted in part and

denied in part. This ruling assumes the reader’s familiarity with the facts, the applicable legal

standard, the prior Daubert rulings in this MDL, and the arguments made by the parties. See

generally In re Roundup Products Liability Litigation, 390 F. Supp. 3d 1102 (N.D. Cal. 2018)

(Pretrial Order No. 45, Dkt. No. 1596); In re Roundup Products Liability Litigation, 358 F. Supp.

3d 956 (N.D. Cal. 2019) (Pretrial Order No. 85, Dkt. No. 2799); Hardeman v. Monsanto

Company, 997 F.3d 941 (9th Cir. 2021).

       The plaintiffs make clear in their opposition that Bobst is not being offered as a general

or specific causation expert. Opp. (Dkt. No. 19432) at 3, 7–10. That means he may not offer

opinions such as “exposure to glyphosate poses a cancer hazard in humans,” or an individual

plaintiff’s exposure to glyphosate “would show an increased risk as a significant contributing

factor towards NHL.” Bobst Report (Booth) (Dkt. No. 18994-15) at 10; Bobst Dep. (Booth) at

13:7–10.

       That leaves the portion of Monsanto’s motion directed at Bobst’s exposure calculation
opinions. Monsanto’s motion is denied as to the accumulation rate Bobst used and his methods




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for individualizing exposure calculations. Bobst’s experience as a toxicologist and his

participation in a field study to observe a plaintiff spraying Roundup are enough to conclude he

used a reliable methodology to come to his one “drop per second” accumulation assumption. See

3rd Supp. Statement Relating to Glyphosate Risk Assessments (Dkt. No. 19432-18). And

although Bobst’s use of self-reported sources for incorporating plaintiff-specific information has

its limitations, Monsanto’s attacks are really attacks on the available evidence, which can be

exposed on cross examination. See Pretrial Order No. 290 (Dkt. No. 18320) at 4.

       Monsanto’s motion is granted as to Bobst’s use of a 2% absorption rate. Bobst himself

admits that his 2% absorption rate assumption doesn’t take into account more recent studies that

show lower absorption rates. See Bobst Supp. Statement on Dermal Absorption of Glyphosate in

Previous Risk Assessment Models (Dkt. No. 18994-41) at 1. He promised to use the updated

data for future models, so it follows that he may only testify about exposure estimates using the

corrected data.

       IT IS SO ORDERED.

Dated: March 14, 2025
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge




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